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Prob 12B                    UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                            (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                         Earl Edward RIEDEL

Docket Number:                         1:08CR00384-05

Offender Address:                      Arroyo Grande, California

Judicial Officer:                      Honorable Lawrence J. O'Neill
                                       United States District Judge
                                       Fresno, California

Original Sentence Date:                03/01/2010

Original Offense:                      17 USC 506 and 8 USC 2319(b)(3) -
                                       Copyright Infringement (CLASS A MISDEMEANOR)

Original Sentence:                     48 months probation; $25 special assessment; $11,566.66
                                       restitution.

Special Conditions:                    Submit to search; Not dissipate assets; Financial disclosure;
                                       Financial restrictions; Drug/alcohol treatment and testing;
                                       Abstain from alcohol; Complete 500 hours community
                                       service; 180 days home confinement; Aftercare co-payment;
                                       No on-line computer access; and Computer inspection.

Type of Supervision:                   Probation

Supervision Commenced:                 03/01/2010

Assistant U.S. Attorney:               David Gappa                           Telephone: (559) 497-4000

Defense Attorney:                      Dale Blickenstaff                     Telephone: (559) 432-0986
                                       (Appointed)




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Other Court Action:

10/08/2010:                         Court orders defendant to pay restitution in the amount of
                                    $11,566.66.

01/11/2011:                         Judgment amended - restitution added.

10/05/2011:                         Case reassigned to the Honorable Lawrence J. O’Neill.


                                PETITIONING THE COURT

To modify the conditions of supervision as follows:


       13.    The defendant shall abstain from using alcohol during the period of
              supervision and shall submit to breathalyzer testing, not to exceed four (4)
              tests per month, to determine if the defendant has consumed alcohol.


       14.    The Court authorizes the Probation Office to disclose the Presentence Report
              to the substance abuse treatment provider to facilitate the defendant's
              treatment for narcotic addiction or drug dependency. Further disclosure of
              the Presentence Report by the treatment provider is prohibited without the
              consent of the sentencing judge.


Justification: Mr. Riedel began his four-year term of supervised probation on March 1, 2010. The
offender completed his Court-imposed 180-day home confinement on September 17, 2010, 500
hours of community service on April 28, 2011, and paid the $100 special assessment on March 1,
2010. Mr. Riedel continues to submit monthly restitution payments of $25.00 toward his Court-
imposed restitution order of $11,566.66; outstanding balance $10,941.66.


During October 2012, Mr. Riedel - without the prior authorization of the probation officer -
terminated his employment at the Turlock Gospel Mission, located in Turlock, California, and



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relocated to his present address located in Arroyo Grande, California, to reside with his then fiancee
(now wife).


Based upon his prior positive adjustment on supervision, in lieu of the initiation of revocation
proceedings, a transfer of supervision request was submitted to the United States Probation Office
located in the Central District of California on November 30, 2012. Supervision of Mr. Riedel's case
was ultimately accepted by their office on January 25, 2013. Mr. Riedel subsequently agreed to the
modification of his terms and conditions of supervision on February 6, 2013, to include the above-
noted special conditions of supervision intended to conform with the necessary language specifically
required within the Central District of California. It is respectfully requested the offender’s
conditions of supervision be modified to include the above-noted special conditions.


                                      Respectfully submitted,

                                       /s/ Phil R. Hendley, Jr.

                                       Phil R. Hendley, Jr.
                                 United States Probation Officer
                                   Telephone: (209) 574-9429

DATED:         February 22, 2013
               Modesto, California
               PRH/lr


REVIEWED BY:            /s/ Jack C. Roberson
                       Jack C. Roberson
                       Supervising United States Probation Officer




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THE COURT ORDERS:

(x )   Modification approved as recommended.




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cc:    United States Probation
       David Gappa, Assistant United States Attorney
       Dale Blickenstaff, Defense Counsel (Appointed)
       Defendant
       Court File
IT IS SO ORDERED.

Dated:     February 22, 2013             /s/ Lawrence J. O'Neill   B9ed48
                                         UNITED STATES DISTRICT JUDGE




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